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                                                                      FILED
Nijija-Ife Waters                                             2019 FEB 2b A 11: 33
Plaintiff                                                    U.S. DISTRICT COURT
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517 Newhall Street

Hamden, CT 06517

February 25, 2019


Case Name: Waters v. New Haven Board of Education

Case Number: 3:18-cv-02144-AVC

I, Nijija-lfe Waters, oppose the motion on file; I am pleading that the courts understand and

accept my request to withdraw the decision to dismiss my complaint without prejudice for

the following reason below:

                              Equal Pay Act of 1963 (EEOC)

              Compensation discrimination under Title VII, ADEA, or the ADA

Defendant terms of employment for parent liaison positon is full-time by contractual

agreement between the New Haven Board of Education and the Paraprofessionals'

bargaining unit at salary group VI $32,813.

I was hired from 2014-2016 as a part-time parent liaison. I later learned there was a $28,813

difference in my salary, I brought the information to my immediate supervisor for review,

she directed me to Human Resource. I was then told there will be an investigation concerning

the matter.

In the meantime, I needed to seek advocacy through Legal Aide concerning Special

Education Violations in my child's Individualized Education Plan and 504 Plan create(! by

the Defendant; I was legally advised to address the violations at a Board of Education public
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meeting as well as to file an Office of Civil Rights (OCR) complaint. A couple of days later,

it was brought to my attention by my immediate supervisor (Principal) there was a full-time

parent liaison position available and I was encouraged to apply. As I proceed with the OCR

complaint, I was also advised to write to the Defendant and request that my concerns become

a matter of record for future references. At this point my immediate supervisor (Principal)

begin to increase my work. I then reached out to Human Resources again inquiring about the

employment status and salary. The response I received at that time was my immediate

supervisor (Principal) would need to make changes; two days later I received an email from

my immediate supervisor (Principal) stating, I was no longer employed effective

immediately. I was given no explanation until the Fact-Finding OCR hearing, two years later;

Human Resource went on record stating the part-time position did not exist, all

administrators were informed since 2014, it was not legal to have a parent time parent liaison

position due to the contractual agreement. Since then, I have applied for that full-time

position in a total of nine times.

As I conclude, I am asking for the courts to keep in consideration I was granted to proceed

pauperis, I am not a lawyer, I am not thoroughly familiar with the laws. I am doing the best I

can to articulate my case. According to EEOC, compensation discrimination can come in a

variety of forms. I hope that I have proven under the EEOC, the job content, unequal wages,

job needs to be substantially equal and the retaliation that took place due to the investigation

of wages and employment status, legal counsel and I testify in a public meeting in regards to

the violations and lack of services by the Defendant. As a result I was left unemployed.
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                        STATE OF CONNECTICUT
            COMMISSION ON HUMAN RIGHTS AND OPPORTUNITIES


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                    FINAL FINDING OF NO REASONABLE CAUSE


Nijija lfe-Waters
COMPLAINANT

vs.
New Haven Board of Education
RESPONDENT

CHRO NO.:     1730374                    DATE FILED:   DECEMBER 26, 2016
EEOC NO.:     16A-2017-00527

PARTIES

COMPLAINANT:                            COMPLAINANT'S COUNSEL:

Nijija-lfe Waters                       NIA
517 Newhall Street
Hamden, CT 06517

RESPONDENT:                             RESPONDENT'S COUNSEL:

New Haven Board of Education            W. Martyn Philpot, Jr.
54 Meadow Street                        Law Office of W. Martyn Philpot, Jr. LLC
New Haven, CT 06511                     490 Orange Street
                                        New Haven, CT 06511




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                                  JURISDICTION

     The investigator concludes that the Commission has jurisdiction to receive,
     investigate and issue a determination upon the merits of this complaint.


•    The investigator concludes that the Commission does not have jurisdiction to
     receive, investigate and issue a determination upon the merits of the complaint.
     Therefore this complaint is dismissed due to the lack of jurisdiction.


                               DRAFT COMMENTS

    A draft finding was sent to the parties on July 31, 2018. Comments were to be
    received on or before August 15, 2018.


•    No comments were received, thus no changes were made to the draft finding.

     Comments were received within the comment period and were considered
     before making this determination. Changes were made to the draft finding.


•    Comments were received within the comment period and were considered
     before making this determination. No changes were made to the draft finding.



                               FINDINGS OF FACT

1. Nijija-lfe Waters ("Complainant") filed a complaint with the Commission on
   December 26, 2016 alleging that New Haven Board of Education ("Respondent")
   discriminated against her by terminating, retaliating, and failing to hire her on the
   basis of her previous opposition to discrimination.

2. According to CONN. GEN. STAT. Section 46a-82(f), complaints must be filed with
   the Commission within 180 days of the alleged discriminatory act. This complaint
   was filed on December 26, 2016. Therefore, events occurring prior to June 29,
   2016 are untimely filed. There is no evidence to support tolling the 180-day
   timeframe. To the extent events that are untimely are discussed in these findings,
   they are considered only as background information for the timely events.




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3. The Complainant began working for Respondent on August 18, 2014 as a part-
   time College Career Readiness Parent Liaison (CCR). The reason the position
   was made part-time as opposed to full time was due to budgetary limitations.

4. During the course of her employment, the Complainant wrote letters to New Haven
   Mayor Toni Harp regarding issues within the administration. These were critical
   letters and referenced inappropriate handling of matters related to student
   disabilities among other issues. The school administration was made aware of
   these letters and the Complainant's opposition to what she believed amounted to
   discriminatory conduct.

5. The Complainant was terminated from her position on February 24, 2016. The
   Complainant's position required re-authorization each year as a specialized part-
   time position. It came to the attention of HR Director Donna Aiello that her position
   had not been authorized for the 2015-16 school year despite the fact that the
   Complainant was currently working in it. The school administration decided to pay
   the Complainant for the work she was doing but terminate her and eliminate the
   part-time position.

6. Around that same time, the school was going through a reorganization. The
   decision was made to convert several part-time positions into fewer full time ones.
   Anyone that wanted to get one of these positions had to apply for it, even those
   who had previously been working in one of the part time positions.

7. A full time Parent Liaison position was posted on a job-listing program called
   AppliTrack in the spring of 2016 as a part of that reorganization. The position was
   not filled by the end of that school year, however, and no one had yet been
   considered for the job. While the job was posted, the Complainant applied for it
   numerous times including May 151, August 10th and September 30th •

8. Glen Worthy was selected for the as the new Principal for Hill House High School
   for the start of the 2016-17 school year. At the time he began his administration,
   the Parent Liaison position had not been filled and he believed there was no
   funding for the full time parent liaison job. Funding for the position was given
   through Title I which provides funds for schools with a high percentage of low-
   income students. Delays in the disbursement of those funds, however, meant that
   there were no available funds to pay for the position at the start of the school year.

9. Shortly after Glen Worthy became principal, the Complainant approached a mutual
   acquaintance, Dr. Edward Joyner, to have him speak with Worthy and advocate


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        for her hire. Or. Joyner called Worthy while the Complainant was in his presence
        and put the call on speaker phone so she could hear. Worthy was not told and did
        not know that the Complainant was listening to the conversation. During the call,
        Worthy stated that he did not like "the way [the Complainant) did business."

    10. Despite the lack of funds and the inability to hire and pay for anyone to fill the
        Parent Liaison position, the job posting was never taken down from the AppliTrack
        system and there was no indication that the Respondent was not actively seeking
        applicants for the position.

    11. The Title I funds were issued to the school in January of 2017. Principal Glen
        Worthy decided at that time to delay filling the position until the following school
        year. At the start of the 2017-18 school year, a full time parent liaison was hired
        using the same listing that had been on the AppliTrack system since shortly after
        the Complainant was terminated.

    12. There can be no finding of discrimination relating to the Complainant's termination
        or unequal pay as these events occurred beyond the 180-day timeframe. As
        discussed above, events occurring prior to June 29, 2016 are untimely. The
        Complainant was terminated in February of 2016. As these events are untimely,
        there can be no finding of a violation made with respect to these allegations.

    13. There is no reasonable cause to believe the Complainant was not hired as a result
        of her previous opposition to discrimination. The Complainant opposed
        discrimination, the Respondent was made aware of this, and the Respondent
        refused to hire the Complainant. There is evidence that the Complainant's
        advocacy led Glen Worthy to view her negatively. The Complainant applied for a
        position with the Respondent several times within the present Complaint's 180-day
        timeframe. The issue, however, is whether the Complainant was treated differently
        due to her prior opposition to discrimination. She was not. The position the
        Complainant applied for was not filled by anyone until the 2017-18 school year on
        the basis that Worthy believed there was no funding for it until January 2017. There
        is a dispute as to whether or not that was actually the case; whether there were
        Title I funds available from the previous administration that Worthy was unaware
        of that would have allowed him to pay someone to work in the position until the
        new Title I funds were disbursed in January of 2017 1. This is ultimately irrelevant

1 In comments to the draft finding, the Complainant again raises the issue of whether or not there were
actually Title I funds available at the start of the 2016-2017 school year. Principal Worthy was consistent
in his testimony over the course of two interviews that he believed there was no available funding for the
position at the time the Complainant last applied for the job. His testimony regarding how the
Respondent's budget works is consistent with the testimony of former principal Kermit Carolina and
former HR director Donna Aiello on that subject. For that reason, it is credible that Principal Worthy

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        - it is credible that Glen Worthy did not believe funds were available which is why
        he did not hire anyone until after the filing of this complaint. That there may have
        been funds and Worthy did not check or care to check does not change that his
        actions were motivated by the belief that there were no funds. There is therefore
        no difference in how the Complainant was treated and how those who had not
        opposed discrimination were treated; no one was considered for the position since
        Worthy believed he could not fill it. The Complainant's previous opposition
        therefore played no role in the refusal to hire her and there is no reasonable cause
        to believe a discriminatory practice occurred.

                                           DETERMINATION


   •      After reviewing all of the evidence in the Commission's file, the investigator
          concludes there is reasonable cause for believing that a discriminatory practice
          has been or is being committed as alleged in the complaint.
          After reviewing all of the evidence in the Commission's file, the investigator
          concludes that there is no reasonable cause for believing that a discriminatory
          practice has been or is being committed as alleged in the complaint.

Dated and entered this 28th day of August, 2018.


                                                  COMMISSION ON HUMAN RIGHTS
                                                  AND OPPORTUNITIES



                                                  Spencer Hill
                                                  Human Rights Attorney




believed there was no funding available for the position and that this was the basis for deciding not to hire
the Complainant at the time she applied. Further investigation of whether Title I funding was available for
the position at the time is not, therefore, necessary.

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